Case 2:21-cv-04405-RGK-MAR Document 55-2 Filed 06/29/21 Page 1 of 1 Page ID #:667




  1      DECLARATION OF SUPERVISORY SPECIAL AGENT JESSIE MURRAY
  2           I, Supervisory Special Agent Jessie Murray, declare as follows:
  3           1.    I am a Supervisory Special Agent with the FBI.
  4           2.    The FBI receives claims to contest administrative forfeiture electronically.
  5   With respect to the submitted claims, the FBI receives the claim form, and generates a
  6   document titled "Claim Details" which sets forth the date the claim was received by the
  7   FBI, identifies the claimant and the person who filed the claim on behalf of the claimant.
  8           3.    Attached hereto as Exhibit A is the claim form, without e xhibits, dated June.
  9   8, 2021 and signed by claimant Jeni Pearsons and attached hereto as Exhibit Bis page 1
 10   to 5 of 26 pages of the claim details form that reflects that the claim was filed June 9,
 11   2021 by Robert Johnson on behalf of Jeni Pearsons. Attached hereto as Exhibit C is the
 12   claim fmm, without e xhibits, dated June 8, 2021 and signed by claimant Michael Store
 13   and attached hereto as Exhibit D is pages 1 to 5 of 26 pages of the claim details form that
 14   reflects that the claim was filed June 9, 2021 by Robert Johnson on behalf of Michael
 15   Store. Attached hereto as Exhibit Eis the claim form, without e xhibits, dated June 22,
 16   2021 and signed by claimant Travis May and attached hereto as Exhibit Fis pages 1 to 5
 17   �f 14 pages of the claim details fmm that reflects that the claim was filed June 9, 2021
 18   by Robert Johnson on behalf of Travis May. The documents have been redacted to
 19   eliminate social security numbers and home addresses.
 20           I declare under penalty of pe1jury under the laws of the United States of America
 21   that the foregoing is true and correct.
 22           Executed in Los Angeles, California, on June
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